                Case 1:23-cr-10079-FDS Document 171-2 Filed 11/20/24 Page 1 of 3




From:                William Moore
Sent:                Friday, June 24, 2022 4:18 PM
To:                  Christine DaSylva
Subject:             RE: Wire transfer to Citizens Bank - Samuel Montrond - # 1077318-200


Just too many red flags…I was able to get some of the Takeda Officials to verify that the transactions were legitimate. I
still don’t see how you make $920k in two weeks with another 3 million coming. Business description was very vague.

Thanks again and have a great weekend!
Bill




William Moore
Chief Risk Officer
30 Pond Street, Sharon MA 02067
P 781-793-2876 F 781-793-2876
www.scucu.com




From: Christine DaSylva <CDaSylva@scucu.com>
Sent: Friday, June 24, 2022 4:14 PM
To: William Moore <WMoore@scucu.com>
Subject: RE: Wire transfer to Citizens Bank ‐ Samuel Montrond ‐ # 1077318‐200

Yes, he told me he was thinking of closing the account anyways because he did not like the way we
handled the situation. He did close his personal accounts as well.

Thank you,


Christine DaSylva
Branch Manager - NMLS 2111112
115 Commercial Street, Brockton MA 02302
P 508-408-6490 F 508-408-6490 5088469928
www.scucu.com




From: William Moore <WMoore@scucu.com>
Sent: Friday, June 24, 2022 3:57 PM

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                                                                                                    USAO_00038755
                Case 1:23-cr-10079-FDS Document 171-2 Filed 11/20/24 Page 2 of 3

To: Christine DaSylva <CDaSylva@scucu.com>
Subject: RE: Wire transfer to Citizens Bank ‐ Samuel Montrond ‐ # 1077318‐200

Hi Christine,

Thank you! Was he okay with our decision?

Thanks again,
Bill

William Moore
Chief Risk Officer
30 Pond Street, Sharon MA 02067
P 781-793-2876 F 781-793-2876
www.scucu.com




From: Christine DaSylva <CDaSylva@scucu.com>
Sent: Friday, June 24, 2022 3:39 PM
To: William Moore <WMoore@scucu.com>
Subject: RE: Wire transfer to Citizens Bank ‐ Samuel Montrond ‐ # 1077318‐200

Hi Bill,

The account was just closed. Attached is a copy of the check. Samuel opened a business account at Santander.

Thank you,


Christine DaSylva
Branch Manager - NMLS 2111112
115 Commercial Street, Brockton MA 02302
P 508-408-6490 F 508-408-6490 5088469928
www.scucu.com




From: William Moore <WMoore@scucu.com>
Sent: Friday, June 24, 2022 1:00 PM
To: Christine DaSylva <CDaSylva@scucu.com>
Subject: RE: Wire transfer to Citizens Bank ‐ Samuel Montrond ‐ # 1077318‐200

Hi Christine,

The wire is okay to send.

Please ask him Sam to close the account by July 10th.

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                                                                                                USAO_00038756
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Any questions at all please call me.


Thanks,
Bill

William Moore
Chief Risk Officer
30 Pond Street, Sharon MA 02067
P 781-793-2876 F 781-793-2876
www.scucu.com




From: Christine DaSylva <CDaSylva@scucu.com>
Sent: Friday, June 24, 2022 12:22 PM
To: Wire Transfers ‐ Outgoing Wires <WireTransfers@sharoncu.com>
Cc: William Moore <WMoore@scucu.com>
Subject: Wire transfer to Citizens Bank ‐ Samuel Montrond ‐ # 1077318‐200

Hi,

Please see attached.

Thank you,


Christine DaSylva
Branch Manager - NMLS 2111112
115 Commercial Street, Brockton MA 02302
P 508-408-6490 F 508-408-6490 5088469928
www.scucu.com




From: scanner@scucu.com <scanner@scucu.com>
Sent: Friday, June 24, 2022 12:23 PM
To: Christine DaSylva <CDaSylva@scucu.com>
Subject:




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                                                                            USAO_00038757
